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                                                                              n
                        IN THE UNITED STATES DISTRICT COURT                   j J.1EC^IVED
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA ^
                                                                                  mar-4 2021
UNITED STATES OF AMERICA

            V.                                   Criminal No. 3:20-cr-07                    (PGH)
ALEXIS BROLIN


 FOURTH SUPPLEMENTAL RECEIPT FOR LOCAL CRIMINAL RULE 16 MATERIAL

    The following supplemental materials have been uploaded and disclosed through USAfx:

          • Clearfield County Jail Records - Williams, McChesney
                o Clearfield County Jail Video
                    o Clearfield County Bail Receipt

          • Controlled Buy Reports and Transcripts - Redacted
                    o Dec. 17-18 2019 - Wallace and Hackett Buy - Transcripts(8)
                    o Jan. 29, 2020 - Coker and Luzier Controlled Buy - PSP Report
                    o Dec. 18, 2019 - Wallace, Hackett, Perry Transaction - DEA-6
                    o   Sept. 24, 2019 - Wallace Buy - Transcript
                    o   Jan. 29, 2020 - Coker and Luzier - Buy - Transcript
                    o   Jan. 29, 2020 - Coker and Luzier- Buy - Transcript 2
                    o   Dec. 18, 2019 - Hackett and Wallace - Controlled Buy - PSP Report
                    o   Sept. 24,2019- Wallace - Controlled Buy - PSP Report
                    o   Oct. 3, 2019- Wallace - Controlled Buy - Transcript
                    o   Oct. 3, 2019- Wallace - Controlled Buy - PSP Report

          • Consent Search Photos - 430 18'"^ Street, Clearfield - Lawhead
                    o IMG_0168
                    o IMG_0169

          •      DEA 7s and Crime Labs
                   o Ex. 10 Lab and DEA-7
                    o Quigley Seizure and Lab
                    o   Ex. 7-9 Labs and DEA-7
                    o   Ex. 5 Lab
                    o   Ex. 70-72 - DEA-7
                    o   Ex.64-65 - DEA-7
                    o   Ex. 82 - DEA-7
                    o   Ex.82 - Lab


          •      Search Warrants-Cell Phones
                    o   SW3:21-03 MJ-Brolins
                    o SW 3:21-04 through 07 MJ-D. Gower
                    o SW 3:21-08 through 11 MJ -J. Nyman
                    o   SW 3:21-12 MJ-D. Rauch
                    o   SW 3:21-13 MJ-Swanson


          • SW Photos- 305 Cherry Street, Erie,PA
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         o June 9,2020-Document
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      Laptop Tampering Investigation
         o   CJA-068 Evidence
         o   CJA-073 Evidence
         o   CJA-075 Evidence
         o   CJA-108 Evidence
         o   CJA-111 Evidence
         o Discovery Investigation Summary

      GPS Tracker Data - Josh Quigley
      GPS Tracker Data- Brolin - Dec. 26,2019 - Mar. 22,2020
      GPS Tracker Data - Wallace and Hackett - Dec.17-18, 2019
      GPS Tracker Data - N. Gaines



                                       Respectfully submitted,

                                       SCOTT W.BRADY
                                       United States Attorney

                                       /s/ Maureen Sheehan-Balchon
                                       Assistant U.S. Attorney

                                       Februarv 25. 2021
                                       Date


                                       Receipt acknowledged by:


                                       Counsel for Defendant


                                        03/04/2021
                                       Date
